                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
                                                    CRIMINAL NO.: 23-085(PAD)
             PLAINTIFF

                   V.

 CARLOS JAVIER RUIZ-PATIÑO

              DEFENDANT


                           MOTION FOR LEAVE TO TRAVEL

THE HONORABLE COURT:

       COMES NOW, the Mr. Ruiz-Patiño through his undersigned attorney and very

respectfully state and pray:

       1.     AUSA Olignhouse has informed the undersigned that as part of the

discovery proceedings an airplane that was allegedly used by Mr. Ruiz-Patiño, as part of

the case allegations, is available for inspection in an undisclosed location in Fort

Lauderdale, Florida. The parties have arranged for such inspection to take place on July

24, 2023.

       2.     Accordingly, the undersigned seeks leave to purchase travel to Fort

Lauderdale Fl, to carry out the inspection and to incur a one-night hotel expense to be

paid with CJA funds. Also a two day rental expense is requested.

       WHEREFORE it is requested that this Honorable Court authorizes the

undersigned to book travel to the State of Florida and a return flight to Puerto Rico during

the aforementioned period with CJA funds and to authorize the undersigned to incur in

travel expenses for one night lodging a two days of car rental fees.
        HEREBY CERTIFY that on this same date, the foregoing was electronically filed

with the Clerk of the Court using the CM/ECF system which will send notification of its

filing to all counsel of record.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this July 12th, 2023.



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